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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-61089-CIV-DAMIAN

 WENDELL MARK SANDERS,

        Plaintiff,
 v.

 EXPERIAN INFORMATION
 SOLUTIONS, INC., EQUIFAX
 INFORMATION SERVICES, LLC,
 TRANS UNION, LLC, and CAPITAL
 ONE BANK (USA), N.A.,

       Defendants.
 _____________________________________/

                        ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court on the parties’ Stipulation of Dismissal With

 Prejudice [ECF No. 25], filed August 28, 2024. Being fully advised, and pursuant to Federal

 Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby

        ORDERED AND ADJUDGED as follows:

            1. The above-styled case is DISMISSED WITH PREJUDICE.

            2. Each party shall bear its own fees and costs.

            3. The Clerk is directed to CLOSE this case.

            4. Any pending motions are DENIED AS MOOT and any deadlines previously

                set are TERMINATED.

        DONE AND ORDERED in Chambers in the Southern District of Florida this 29th

 day of August, 2024.


                                                         __________________________________
                                                         MELISSA DAMIAN
                                                         UNITED STATES DISTRICT JUDGE
 cc:    Counsel of record
